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December 2, 2021

VIA ECF
Honorable James L. Cott
United States Courthouse
500 Pearl Street
New York, New York 10007
                                              RE:     Kaye v. NYC Health & Hospitals Corp. et. al.
                                                      Index No.: 18-cv-12137(JPC)(JLC)
Dear Honorable Judge Cott:

I respectfully write in response to Defendants’ opposition to Plaintiff’s request for additional time
and to conduct the remainder of Plaintiff’s deposition pursuant to Fed. R. Civ. P. 31. Plaintiff
sought the Court’s intervention based on the prescribed deadlines in this matter. Defendants’
written notification as to whether they will pursue summary judgment is due tomorrow.
However, without benefit of Plaintiff’s deposition transcript, both sides will be deprived the right
to pursue any measures in the interim.

Further, as the Court is aware, Plaintiff has a right to review her deposition transcript and to make
any corrections. Since the deposition transcript has not yet been provided, Plaintiff has not had
the opportunity to engage in this standard practice. Additionally, and directly related to the
application herein, there are questions as to whether additional time is needed to ensure that
Plaintiff has had the opportunity to fully address her claims on the record.

The parties agree that a review of the deposition is necessary to reach a reasoned determination.
As previously stated, the stenographer’s computer shut down before I had the opportunity to ask
Plaintiff any questions. In light of the parties’ schedules, if deemed necessary, I propose that the
remainder of the deposition be conducted pursuant to Fed. R. Civ. P. 31. Defense Counsel has
proposed a number of dates during the third week of December, however, I have medical
appointments in the upcoming weeks, and Dr. Kaye has any number of medical, professional and
personal obligations during this time. Therefore, it is Plaintiff’s position that deposition via
written questions would be the most efficient and would ensure that the questions are limited
to the remaining unaddressed claims.

Respectfully submitted,

/s/

Special Hagan, Esq.
Attorney for Plaintiff
Melissa Kaye, M.D.
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c:   Donna Canfield, Esq.
     Counsel for Defendants
